Case 05-30089 Document 718-2 Filed in TXSB on 05/15/20 Page 1 of 12

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CERTIFICATE OF LLC RESOLUTION & STATEMENT OF AUTOM gi SS

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The undersigned Members of Dilks & Knopik, LLC, an LLC, duly organized under the laws of
Washington (hereinafter “The LLC”), hereby certify that the following resolutions were duly adopted by said
Members of The LLC on June 7", 2002 and that such resolutions have not been modified or rescinded as of the

date hereof:

RESOLVED, that Brian J Dilks, Caryn M Dilks, Andrew T. Drake and Jefferey Hudspeth, are hereby
authorized and directed for and on behalf of The LLC to execute all legal documents as approved by him/her as

being in the best interests of The LLC; and to take any and all further actions which may be necessary or
appropriate to commence and complete said construction in such a manner as being, in his/her opinion, in the

best interests of the LLC.

RESOLVED, that this action may be executed in counterparts and by facsimile signatures, each of

which shall be deemed an original and all of which together shall constitute one action.

IN WITNESS WHEREOF, the undersigned has executed this instrument as of this 25 day of

Januar Yu, 2020
7

2, L Subscribed and sworn to me this

Bfian J Dilks a3 day ot Tanuccy 902.0

Notary Signature Uh

Matthew Zettléy
My Commission Expires: 2/19/22

Date:

NOTARY PUBLIC
STATE OF WASHINGTON
} COMMISSION EXPIRES
A FEBRUARY 19, 2022

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_ x g Beta da and syor to me this
Caryn M Dilk® f/k/a Caryn M Knopik day of Sanuaa, 2026
Date: _ 22: - 2020 Vy
- Notary Signature oS

Matthew Zeffey
My Commission Expires: 2/19/22

STATE OF WASHINGTON §
COMMISSION EXPIRES §

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L Filed
vY Secretary of State
State of Washington
Office of the Secretary of State Date Filed: 05/10/2019
Corporations & Charities Division Effective Date: 05/10/2019
UBI #: 602 211 447

EXPRESS ANNUAL REPORT WITHOUT CHANGES

BUSINESS INFORMATION

Business Name:

DILKS & KNOPIK, LLC

UBI Number:

602 211 447

Business Type:

WA LIMITED LIABILITY COMPANY

Business Status:
ACTIVE

Principal Office Street Address:
35308 SE CENTER ST, SNOQUALMIE, WA, 98065-9216, UNITED STATES

Principal Office Mailing Address:
35308 SE CENTER ST, SNOQUALMIE, WA, 98065-9216, UNITED STATES

Expiration Date:
06/30/2020
Jurisdiction:
UNITED STATES, WASHINGTON
Formation/Registration Date:
06/07/2002
Period of Duration:
PERPETUAL
Inactive Date:
Nature of Business:
OTHER SERVICES
REGISTERED AGENT RCW 23.95.410
Negistered Agent Street Address Mailing Address
ame
BRIAN DILKS 28431 SE PRESTON WAY, ISSAQUAH, WA, 28431 SE PRESTON WAY, ISSAQUAH, WA,
98027-0000, UNITED STATES 98027-0000, UNITED STATES
GOVERNORS
Title Type Entity Name First Name Last Name
GOVERNOR INDIVIDUAL BRIAN DILKS
GOVERNOR INDIVIDUAL CARYN DILKS
This document is a public record. For more information visit www.sos.wa.gov/corps Work Order #: 2019051000246334 - 1

Received Date: 05/10/2019
Amount Received: $60.00

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Brian Dilks
Managing Member
35308 SE Center Street

Snoqualmie, WA 98065
Ph. 877-836-5728 x 101
Fx. 877-209-8249
brian.dilks@dilksknopik.com

‘wSex Faia 543
4 at 1s Eyes BL

www.dilksknopik.com

Dilks| & | Knopik

When Success Matters

Caryn Knopik
Managing Member

35308 SE Center Street
Snoqualmie, WA 98065
Ph. 877-836-5728 x 102
Fx. 877-209-8249
caryn.knopik@dilksknopik.com

www.dilksknopik.com

Dilks

& | Knopik

When Success Matters

Jeff Hudspeth
Vice President - Accounts

35308 SE Center Street
Snoqualmie, WA 98065
Ph, 877-836-5728 x 104
Fx. 877-209-8249
jeff-hudspeth@dilksknopik.com

www.dilksknopik.com

eee

Dilks| & | Knopik

When Success Matters

Andrew Drake
Vice President - Operations

35308 SE Center Street
Snoqualmie, WA 98065
Ph. 877-836-5728 x 123
Fx. 877-209-8249

andrew.drake@dilksknopik.com

www.dilksknopik.com

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since 2003 | BBB. imanbanee

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Dilks| &|Knopik

Purchase and Assignment Agreement

This Purchase and Assignment Agreement (the “Agreement”) is entered into as of Thursday, March 5,
2020 (the “Effective Date”) by and between Dilks & Knopik, LLC, a Washington Limited Liability
Company, with a principal place of business at 35308 SE Center Street, Snoqualmie, WA 98065, (the
“Assignee”) and Chriscilda Stephens with an address of P.O. Box 625, Porter, TX 77365 (the
“Assignor’).

1. Recitals

1.1 Assignor is/was a properly named and lawful creditor in Bellaire General Hospital L.P.
(05-30089-H3) as filed in the Southern District of Texas (the “Case”). As a creditor in the Case, Assignor
was entitled to distribution of funds from the assets of the Debtor’s Bankruptcy Estate in the amount of
$1,397.34 (the “Funds”). Remittance to Assignor was not successful, and pursuant to Federal Rule of
Bankruptcy Procedure 3011 and 11 U.S.C. 347, the Funds were deposited into the Registry of the Court.
The Funds then being subject to withdrawal in accordance with 28 U.S.C. 2042.

1.2 Assignor not desirous of attempting collection of the Funds, nor wishing to incur the time
and expense of such collection, does hereby wish and does sell, assign, and convey to the Assignee, for
good and valuable consideration, all of Assignor’s rights, title and interest in the Funds, without the
presence of undue influence or coercion.

1.3 Assignor has personal knowledge of the Funds being assigned and has verified that all the
Funds are still owing to Assignor.

NOW THEREFORE, in consideration of mutual obligations, covenants, representations, and warranties
herein, the parties agree as follows:

2. Assignment of Interest.

2.1 Assets Assigned. The assets herein assigned to Assignee are those stated in paragraph 1.1
above, or if more than one creditor claim was made in the Case those identified in Schedule 1, attached
hereinto and incorporated by reference, that collectively are the Funds held for the benefit of Assignor by
the Clerk of the Court of the court identified in paragraph 1.1 in the Unclaimed Funds Registry.

2.2 Assignment of Interest. As herein contemplated, Assignor, without recourse, hereby does
sell, assign, transfer and convey all of Assignor’s rights, title, and interest in the Funds, in an AS IS basis,
for good and valuable consideration without undue influence or coercion, and of his/her/its free will. In
the interest of consummating this Agreement, both parties do acknowledge and agree to fulfill their
obligations herein to affect the lawful assignment, transfer, and conveyance of the Funds to Assignee,
who thereafter shall be the sole and lawful owner of the Funds having all right, title, and interest to the
same.

2.3 Consideration. The consideration herein given by Assignee to Assignor shall be the sum
of $698.67, to be paid by any lawful tender upon execution of this Agreement and fulfillment of the
obligations hereunder.

On this C th of / lan , 2020. | certify
that the preceding or attached document titled

(Assignment Agreement), (4 pages) is a true,
accurate and complete copy of the original being held

at 35308 SE Center Street, Snoqualmie, WA 98065 . Pera en wee to

Matthew Zettl¢/ — Notary Public
My commission expires: February 19, 2022

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2.4 Power of Attorney. To the extent necessary under applicable law, the Assignor does
hereby appoint for the limited purpose of collection of the Funds and fulfillment of Assignor’s
obligation(s) under this Agreement, Dilks and Knopik, LLC as its attorney-in-fact.

3. Closing. The closing of the transaction herein contemplated shall be done immediately upon fulfillment
of each party’s obligations hereunder, or on such other date as the parties may agree (the “Closing Date”).
At the closing, Assignor shall deliver an original of this Agreement and such other documents as may be
required to consummate this transaction, and Assignee shall deliver a countersigned Agreement and any
other document(s) requiring countersignature, and the consideration contemplated herein. Any closing
costs shall be paid by the party incurring such costs.

4. Representations and Warranties.

4.1 Assignor. Assignor does hereby represent and warrant that (a) he/she/it is legally
competent to execute this Agreement, and has full power, authority and legal right to execute, deliver, and
perform as agreed under this Agreement, (b) that he/she/it is the sole and lawful entity entitled to the
Funds herein assigned to Assignee, (c) that he/she/it has not otherwise pledged, sold, assigned,
transferred, or conveyed the interest herein assigned to Assignee to any other party, person or entity, in
whole or in part, providing such proof as may be necessary (d) that he/she/it is not involved in any legal
proceeding that may affect any right to sell, assign, transfer or convey to Assignee the interest in the
Funds herein contemplated, (e) that he/she/it performs under this contract without undue influence or
coercion on the party of the Assignee or any other party, and (f) that he/she/it shall cooperate with
Assignee to fulfill his/her/its obligations under this Agreement and to Assignor, including execution of
this Agreement and such other documents as may be necessary to effect the assignment to Assignee
without delay.

4.2 Assignee. Assignee does hereby represent and warrant that it has full power, authority
and legal right to execute this Agreement, and shall cooperate with Assignor to fulfill its obligations
under this Agreement to Assignee.

5. General Provisions.

5.1 Enforceability. This Agreement constitutes full understanding of the parties superseding
any and all prior agreements, oral or written, and the binding obligations of the parties in accordance with
its terms except as may be limited by operation of law.

5.2 Binding Effect. The terms and provisions of this Agreement shall be binding on and inure
to the benefit of the successors, assigns, heirs, and legatees of the parties.

5.3 Notices. Any notices required to be provided hereunder shall be delivered to the address
of each party as first stated above, or such other address of which each party may notice the other.

5.4 Headings. All headings contained herein are for convenience of reference and
organization only, and shall not be construed or interpreted to be part of this Agreement, nor affect in any
way its meaning or interpretation.

5.6 Mutual Writing. This Agreement has been drafted by mutual contribution of the parties,
and shall not be construed against either party due to authorship.

5.7 Counterparts. This Agreement may be executed in one or more counterparts, each of
which shall be deemed an original, but all of which together shall constitute one and the same instrument.

5.8 Advice of Counsel. Assignor has sought independent legal advice or hereby waives the
opportunity to seek such legal advice prior to the execution of this Agreement.

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5.9 Severability. In the event any provision herein is deemed to be invalid, illegal, or
unenforceable, such provision shall be removed, but all other provisions herein shall remain in full force

and effect.

5.10 Choice of Law. This Agreement shall be interpreted in the law of Washington State, any
disputes, claims, or controversies arising under or related to it shall be brought in a court of competent
jurisdiction in King County, Washington. In the event of matter brought before a court, both parties waive
its right to trial by jury, and specifically agree that any matter brought by either party may be decided by a
bench trial, or if appropriate by arbitration under the rules of the court governing such procedure.

5.11 Time of the Essence. The parties hereto acknowledge that time is of the essence in the
performance of all obligations under this Agreement.

IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed as of the
day and year first written above.

Assignor: of Assignee:

Chriscilda Stephens Dilks A Knope Cc
Je th — Authorized Signatory

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me this d
Notary Public:

My Commission Expires: _OUY ~ =) - OR

Osx)

Subscribed and Sworn be

SYONEY RENEE KELLEY

NOTARY PUBLIC STATE OF TEXAS
ID # §78180-7

COMM. EXP. 08-30-2022

Page 3 of 4
Case 05-30089 Document 718-2 Filed in TXSB on 05/15/20 Page 7 of 12

Dilks | & | Knopik

NOTICE OF ASSIGNMENT

For good and valuable consideration, the undersigned, Chriscilda Stephens ("Assignor"), hereby,
sells, assigns, conveys and transfers over and unto Dilks & Knopik, LLC ("Assignee"), any and all of right,
title and interest in and to the below referenced funds/claim(s).

The Assigned funds/claim(s):

Debtor: Bellaire Genera! Hospital L.P.

Court: United States Bankruptcy Court - Souther District of Texas
Case Number: 05-30089-H3

Chapter: 7

Claim: 350

Original Creditor: Chriscilda Stephens

The purchase price for the Purchased Claim(s) is $698.67.

FUNDS/CLAIM(S) ARE BEING SOLD AND ASSIGNED "AS-IS, WHERE-IS" WITH NO
WARRANTIES OR REPRESENTATIONS WHATSOEVER, EXCEPT AS EXPRESSLY PROVIDED IN
THE ASSIGNMENT AGREEMENT, INCLUDING, WITHOUT LIMITATION, WARRANTIES OF
MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE.

IN WITNESS WHEREOF, the parties hereto have caused this notice of assignment to be executed as
of the Thursday, March 05, 2020.

(Nn ot, E>

Signature

SYDNEY RENEE KELLEY

a NOTARY PUBLIC -STATE OF TEXAS
ID # 578180-7

COMM. EXP. 08-30-2022

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SNOQUALMIE,
877-836-8728

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DILKS & KNOPIK, LLC
CLIENT DISTRIBUTION ACCOUNT
35308 SE CENTER STREET

Chriscilda Stephens
Chriscitda Stephens

Case 05-30089 Document 718-2 Filed in TX
https://
PO Box 625

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Monday, May 4, 2020
Amount of the Check

$698.67

How this will appear on your statement
CHECK # 35276

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Date

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transaction Details

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Exhibit A

1 of 1
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8900 Ambergien Boulevard
_ Austin, TX 78729-1110

Named Insured

STEPHENS, MARCELLIOUS &
CHRISCILDA

3503 BRAEWIN CT

HOUSTON TX 77068-3016

ae |

HOMEOWNER POLICY

A loys Companyin Dales; T9388 ument 718-2 Filed in DRECLARATIONS PAGEO of MENDED APR 17 2006

Policy Number qqipnas3-2
Policy Period Effective Date Expiration Date
12 Months APR 26 2006 APR 26 2007
The policy. period begins and ends at 12:01 am
standard time at the residence premises.

Loan # 4377

Mortgag

REGIONS BANK

DBA REGIONS MORTGAGE ISADA
PO BOX 11026

ORANGE CA 92856-8126

Automatic Renewal - If the policy period is shown as 12 months, this policy will be renewed automatically subject to the
premiums, rules and forms in effect for each succeeding policy period. If this policy is terminated, we will give you and the

Mortgagee/Lienholder written notice in compliance with the policy

provisions or as required by law.

Location of Residence Premises
Same as Insured's Address

Your polic is amended APR 17 2006 es
INSURED NAME AND/OB ADDRESS CHANGE
1ST MORTGAGEE LOAN NUMBER CHANGED
1ST MORTGAGEE NAME/ADDRESS CHANGED

Other items shown are effective
with the policy's 2006 renewal

Coverages & Property Limits of Liability | inflation Coverage Index: 166.5
SECTION | 240.300 Deductibles - Section |

A Dwelling ; , Wind or Hail 2.00% $ 4,806

Dwelling Extension up to 24,030 . ,
B Personal Property P 180,225 Other Losses $ 2,500
C Loss of Use Actual Loss

Sustained
SECTION II

L Personal Liability $ 300,000

Each Occurrence

amage to Property In case of loss under this policy, the deductibles will be applied
M of Others, ate t $ 500 er occurrence and will be deducted from the amount of the
ical Payments to j - j
Others (Each Person) $ 1,000 loss. Other deductibles may apply - refer to policy.

Loss Settlement Provision (See Policy)
A1 Replacement Cost - Similar Construction
Bi Limited Replacement Cost - Coverage B

Forms, Options, & Endorsements
Homeowners Policy
Cov ‘A’ Loss Settlement
Amendatory Endorsement
Water Damage Endorsement
Dwelling Foundation
Fungus (including Mold) Excl
Special Limits - Money/Jf

otor Vehicle Endorsement
Ordinance/Law 10%/$ 24,030

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Other limits and exclusions may apply - refer to your policy

Your policy consists of this page, any endorsements
and the policy form. Please keep these together.

FP-7012.1C
0609 151 |

Continued on Reverse

N Prepared APR 19 2006

Endorsement Premium NONE
Discounts Applied:
Home Alert
Renewal
Address Proof

MIKE WESLEY
281-970-6000

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Pursuant to Federal Bankruptcy Rule 9037 and District
Court General Order 2004-11, please ensure that the
enclosed tax documentation (AO-213 and/or W9) is
redacted prior to inclusion in publicly accessible docket
materials.
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AO 213P (9/19)

‘* REQUEST FOR PAYEE INFORMATION AND TIN CERTIFICATION

Refer to the instructions page for further information on completing this form.
Vendors providing goods and services must use the AO 213 form.
Part1 Payee Information
Line 1. Payee Name: Dilks and Knopik LLC
Line 2. Additional payee information: (if applicable) | as assignee to Chriscilda Stephens
Part2 Business Name (if different from above)

Enter your TIN in the appropriate box. EIN: 74.3049 851

Part 3 The TIN provided must match the name given in Part 1, Line 1.

Enter only an EIN or SSN - NOT BOTH. SSN: - -
Part4 Select the appropriate box below for U.S. tax classification for person or entity listed in Part 1, Line 1.
© Individual or single member LLC oO Corporation (Payments related to attorneys’ fees or gross proceeds paid to attorneys)
M LLC (Except single member) © Partnership
(Select one: OC Corp @SCorp OPartnership O Trust/Estate 0 Other:

Part5 Méailing Address
Street address: 35308 SE Center Street

City: Snoquaimie State: WA Zip code: 98065
Point of Contact (if different from Part 1, Line | above) Name: Brian Dilks or Andrew Drake

Phone #: (425) 836-5728 Email Address: admin@dilksknopik.com

Part6 Electronic Funds Transfer (EFT) Information (OPTIONAL)

Owner(s) name as it appears on bank account: Dilks & Knopik

Bank Name: Key Bank Routing #: (Must contain 9 digits) 125000574

Payee must select an account type: (Select one) (KChecking 0 Savings

Account Number: (do not include check number) 472741017389

Part7 Certification

Under penalties of perjury, I certify that:

1. The number shown on this form is my correct taxpayer identification number; and

2. ] am not subject to backup withholding because: (a) I am exempt from backup withholding, or (b) I have not
been notified by the IRS that I am subject to backup withholding as a result of a failure to report all interest and
dividends, or (c) the IRS has notified me that I am no longer subject to backup withholding; and

3. lama U.S. citizen or other U.S. person (defined in the instructions).

The IRS does not require your consent to any provision of this document other than the certifications required to avoid
backup withholding.

Signature: Au Date: ‘| I dl 2 O

For Judiciary Use Only
Select those boxes that apply: © Addition Change Vendor Code:
O Active © Inactive Vendor Type:

(Trustee or Vendor)

Vendor Administrators: Attach this form to the JIFMS MANL document. This form can also be submitted, subject to separation of duties
requirements, via HEAT at: https://nsms.ao.den. The service request can be found under Financial Management Services> JIFMS Vendor Additions |
or Updates. For FAS4T users (CCAM only). send this form to the local court vendor administrator. For questions regarding JIFMS and court
FAS4T, please contact the National Support Desk at (210) 536-5000. This form should be completed including the vendor's signature and submitted
by Judiciary staff only.

i

Sensitive information must be securely maintained and only visible to designated staff.
